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                                                         U.S. Deprtrnent of Justice

                                                         United States Au omey
                                                                      w Jersey
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                                                        July 5, 2016
      Anthony Gualano, Esq.
      P.O. Box 414
      McAfee, New Jersey 07428

                       Re: Plea Areerncnt with_H
                                                 arpreet Sachdeva
      Dear Mr. Gualano:

                 This letter sets forth
     Harpreet Sachdeva and the Un the plea agreement between your client,
                                       ited States Attorney for the
     Jersey (this Office”). The off                                 District of New
                                    er
     accepted by Harpreet Sachde contained in this letter will expire if not
                                   va on or before July 25, 201
                                                                  6.
     Charge

                   Conditioned on the underst
      accept a guilty plea from Ha                  andings specified below, thi
                                       rpreet Sachdeva to a one-cou                 s Office will
      charges him with conspirac                                        nt Information that
                                     y to commit visa fraud, co
      States Code, Section 1546(a                                   ntrary to Title 18, United
                                     ), in violation of Title 18, Un
      Section 371. If Harpreet Sac                                    ited States Code,
                                       hdeva enters a guilty plea
     charge and otherwise fully                                      and is sentenced on this
                                    complies with all of the ter
     then this Office will not ini                                 ms of this agreement,
                                   tiate any further criminal ch
     Sachdeva for the criminal                                       arges against Harpreet
                                  activities committed from in
     through in or about March                                       or about July 2014
                                    2016, in Union County, New
     as more fully set forth in the                                   Jersey, and elsewhere,
                                       criminal complaint filed again
     District under Magistrate No                                         st him in this
                                      .: 16-6044, provided that Ha
    admits under oath at the tim                                       rpreet Sachdeva
                                       e of his guilty plea to the cri
    described above and that sai                                       minal offense
                                     d conduct is taken into acco
    conduct by the Court at the                                        unt as relevant
                                     time of sentencing under U.S
    However, in the event tha                                          .S.G. § 151.2(c).
                                t a guilty plea in this matte
    reason or the judgment of                                    r is not entered for any
                                 conviction entered as a res
   not remain in full force an                                    ult of this guilty plea does
                                 d effect, Harpreet Sachdeva
   dismissed charges and an                                        agrees that any
                                y other charges that are no
   applicable statute of limitat                                 t tixne-barred by the
                                  ions on the date this agree
   Harpreet Sachdeva may be                                        ment is signed by
                                  commenced against him, no
   expiration of the limitations                                    tw
                                    period after Harpreet Sachde ithstanding the
   agreement.                                                         va signs the
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      Sntenciig

                   The violation of Title 18, United States Code, Section 371 to which
      Harpreet Sachdeva agrees to plead guilty carries a statutory maximum prison
      sentence of 5 years’ imprisonment and a statutory maximum fine equal to the
      greatest of: (1) $250,000; (2) twice the gross amount of any pecuniary gain
      that any persons derived from the offense; or (3) twice the gross amount of any
      pecuniary 1os sustained by any victims of the offense.

                   The sentence to be imposed upon Harpreet Sachdeva is within the
      sole discretIon of the sentencing judge, subject to the provisions of the
      Sentencing Reform Act) Title 18, United States Code, Sections 355 1-3742, arid
      the sentencing judge’s consideration of the United States Sentencing
      Guidelines. The United States Sentencing Guidelines are advisory, not
      mandatory. The sentencing judge may impose any reasonable sentence up to
      and including the statutory maximum term of imprisonment and the maximum
      statutory fine. This Office cannot and does not make any representation or
      promise as to what guideline range may be found by the sentencing judge, or
      as to what sentence Harpreet Sachdeva ultimately will receive.

                   Further, in addition to imposing any other penalty on Harpreet
      Sachdeva, the sentencing judge: (1) pursuant to 18 U.S.C. § 3013, will order
      Harpreet Sachdeva to pay an assessment of $100. which assessment must be
      paid by the date of sentencing; (2) pursuant to 18 U.S.C. § 3663 et seq., may
      order Harpreet Sachdeva to pay restitution; and (3) pursuant to 18 U.S.C.
                                                                                   §
      3583, may require 1-larpreet Sachdeva to serve a terin of supervised release of
      not more than three years, which term of supervised release will begin at the
      expiration of any term of imprisonment imposed. Should Harpreet Sachdeva
      be placed on a term of supervised release and subsequently violate any of the
      conditions of supervised release before the expiration of its term, Harpreet
      Sachdeva may be sentenced to not more than two years’ imprisonment in
      addition to any prison term previously imposed, regardless of the statutory
      maxirrzuzn term of imprisonment set forth above and without credit for time
      previously served on post-release supervision, and may be sentenced to an
      additional term of supervised release.

      Rights of This Office Retarding Sntencirig

                   Except as otherwise provided in this agreement, this Office
     reserves its right to take any position with respect to the appropriate sentence
     to be imposed on Harpreet Sachdeva by the sentencing judge, to correct any
     misstatements relating to the sentencing proceedings, and to provide the
     sentencing judge and the United States Probation Office all law and
     information relevant to sentencing, favorable or otherwise. In addition,
                                                                               this
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      Office may inform the sentencing judge and the United States Probation Office
      of: (1) this agreement; and (2) the full nature and extent of Harpreet
      Sachdeva’s activities and relevant conduct with respect to this case.

      Stipulations

                   Tlis Office and Harpreet Sachdeva agree to stipulate at sentencing
      to the statements set forth in the attached Schedule A, which hereby is made a
      part of this plea agreement. This agreement to stipulate,however, cannot and
      does not bind the sentencing judge, who may make independent factual
      findings arid may reject any or all of the stipulations entered into by the
      parties. To the extent that the parties do not stipulate to a particular fact or
      legal conclusion, each reserves the right to argue the existence of and the effect
      of any such fact or conclusion upon the sentence. Moreover, this agreement to
      stipulate on the part of this Office is based on the infoi-rnation and evidence
      that this Office possesses as of the date of this agreement. Thus, if this Office
      obtains or receives additional evidence or information prior to sentencing that
      it determines to be credible and to be materially in conflict with any stipulation
      in the attached Schedule A, this Office shall not be bound by any such
      stipulation. A determination that any stipulation is not binding shall not
      release either this Office or Harpreet Sachdeva from any other portion of this
      agreement, including any other stipulation. If the sentencing court rejects a
      stipulation, both parties reserve the right to argue on appeal or at post-
      sentencing proceedings that the sentencing court was within its discretion and
      authority to do so. These stipulations do not restrict this Office’s right to
      respond to questions from the Court and to con-ect misinformation that has
      been provided to the Court.

      Waiver of Appeal and Post-S     tencizigRights

                 As set forth in Schedule A, this Office and Harpreet Saehdeva
     waive certain rights to file an appeal, coflaterai attack, writ, or motion after
     sentencing, including but not limited to an appeal under Title 18, United States
     Code, Section 3742 or a motion under Title 28, United States Code, Section
     2255.

     Rights of This_Qffice Regarding Post-Se     encing Proceedings

                  This Office specifically reserves the right to file, oppose, or take any
     position in any appeal, collateral attack, or proceeding involving post-
     sentencing motions or writs.



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       lmmiration Consequences

                      Harpreet Sachdeva understands that, if he is not a citizen of the
       United States, his guilty plea to the charged offense will likely result in his
       being subject to immigration proceedings and removed from the United States
       by making him depot-table, excludable, or inadmissible, or ending his
       naturalization. Harpreet Sachdeva understands that the immigration
       consequences of this plea will be imposed in a separate proceeding before the
       immigration authonties, Harpreet Sachdeva wants and agrees to plead guilty
       to the charged offense regardless of any immigration consequences of this plea,
       even if this plea wilt cause his removal from the United States. Harpreet
       Sachdeva understands that he is bound by his guilty plea regardless of any
       immigration consequences of the plea. Accordingly, Harpreet Sachdeva waives
       any arid all challenges to his guilty plea and to his sentence based on any
       immigration consequences, and agrees not to seek to withdraw his guilty plea,
       or to ifie a direct appeal or any kind of collateral attack challenging his guilty
       plea, conviction, or sentence, based on any immigration consequences of his
       guilty plea.

       Other Provisions

                    This agreement is limited to the United States Attorney’s Office for
       the District of New Jersey and cannot bind other federal, state, or local
       authorities. However, this Office will bring this agreement to the attention of
       other prosecuting offices, if requested to do so.

                   This agreement was reached without regard to any civil or
       administrative matters that may be pending or commenced in the future
       against Haxpreet Sachdeva. This agreement does not prohibit the United
       States, any agency thereof (including the Internal Revenue Service) or any third
       party from initiating or prosecuting any civil or administrative proceeding
       against Harpreet Sachdeva.

                     No provision of this agreement shall preclude Harpreet Sachdeva
       from pursuing in an appropriate forum, when permitted by law, an appeal,
       collateral attack, writ, or motion claiming that Harpreet Sachdeva received
       constitutionally ineffective assistance of counsel.




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       No Other Promises

                  This agreement constitutes the plea agreement between Harp
      Sachdeva and this Office and supersedes any previous agre                 reet
                                                                  ements between
      them. No additional promises, agrccments, or condition have
                                                               s       been made or
      will be made unless set forth in writing and signed by the
                                                                 parties.

                                                  Very truly yours,

                                                  PAULJ. FJSI-IMAN
                                                  United/tes Attorney



                                                     Øn’cIiC.
                                                 Assi tant US Attorney




      Anthony M.oscato
      Chief, National Security Unit




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       _____________________

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                   I have received this letter from my attorney, Anthony Gualano,
       Esq. I have read it, and/or it has been translated for me in my native
       language. My attorney and I have discussed it and all of its provisions,
       including those addressing the charge, sentencing, stipulations, and
       immigration consequences. I understand this letter fully. I hereby accept its
       terms and conditions and acknowledge that it constitutes the plea agreement
       between the parties. I understand that no additional promises, agreements, or
       conditions have been made or will be made unless set forth in writing and
       signed by the parties. I want to plead guilty pursuant to this plea agreement.

       AGREED AND ACCEPTED:



                  -                                 Date
       Harpreet Sachdeva


                    I have discussed with my client this plea agreement and all of its
       provisions, including those addressing the charge, sentencing, stipulations,
       and immigration consequences. My client understands this plea agreement
       fully and wants to plead guilty pursuant to it.



                                                    Date:
       Anthony Gualano, Esq.




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                          Plea Agreement With Harrxeet Sachdeva

                                          Schedule A

                   1. This Office and liarpreet Sachcleva recognize that the United
      States Sentencing Guidelines are not binding upon the Court. This Office and
      Harpreet Sachdeva nevertheless agree to the stipulations set forth herein, and
      agree that the Court should sentence Harpreet Sachdeva within the Guidelines
      range that results from the total Guidelines offense level set forth below. This
      Office and Ilarpreet Sachdeva further agree that neither party will argue for the
      imposition of a sentence outside the Guidelines range that results from the
      agreed total Guidelines offense level.
                    2. The version of the United States Sentencing Guidelines
      effective on the date of sentencing applies in this case.

      The OffenseCgnduct

                    3. The applicable guideline is U.S.S.G. § 2X1. 1 (Attempt,
      Solicitation, or Conspiracy). Under U.S.S.G. § 2X1. 1, the base offense level for
      any conspiracy is the base offense level from the guideline for the substantive
      offense, plus any adjustments from such guideline for any intended offense
      conduct that can be established with reasonable certainty. Harpreet Sachdeva
      and his co-conspirators completed all the acts the conspirators believed
      necessary on their part for the successful completion of the substantive
      offense.      U.S.S.G. § 2X1.1(b)(2).

                   4. The substantive offense is a violation of 18 U.S.C. § 1546(a).
       and the applicable guideline for that offense is U.S.S.G. § 2L2, 1. Pursuant to
       U.S.S.G. § 2L2 1(a), the base offense level is 11.
                    5. The parties agree that the offense was committed for profit and
      that the defendant conspired to knowingly use, attempted to use, possessed,
      obtained, accepted or received at least 45 documents proscribed by statute or
      regulation for entry into or as evidence of authorized stay or employment in the
      United States, knowing that said documents were forged, counterfeited,
      altered, falsely made, to have been procured by means of false claim or
      statement, or otherwise procured by fraud or unlawfully obtained. Pursuant to
      U.S.S.G. § 2L2. 1(b)(2)(B), specific offense characteristic results in a 6-level
      increase from the base offense level of 11.




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       Acceptance of Responsibility

                    6. As of the date of this letter, Harpreet Sachdeva has clearly
       demonstrated a recognition and affirmative acceptance of personal
       responsibility for the offense charged. Therefore, a downward adjustment of 2
       levels for acceptance of responsibility is appropriate if Harpreet Sachdeva’s
       acceptance of responsibility continues through the date of sentencing. See
       U.S.S.G. § 3E1.1(a).

                      7. As of the date of this letter, Harpreet Sachdeva has assisted
        authorities in the investigation or prosecution of his own misconduct by timely
        notifying authorities of her intention to enter a plea of guilty, thereby
        permitting this Office to avoid preparing for trial and permitting this Office and
        the court to allocate their resources efficiently. At sentencing, this Office will
        move for a further 1-point reduction in Harpreet Sachdeva’s offense level
        pursuant to U.S.S.G. § 3E1. 1(b) if the following conditions are met: (a)
        Harpreet Sachdeva enters a plea pursuant to this agreement, (b) this Office in
        its discretion determines that Harpreet Sachdeva’s acceptance of responsibility
        has continued through the date of sentencing and Harpreet Sachdeva therefore
        qualifies for a 2-point reduction for acceptance of responsibility pursuant to
        U.S.S.G. § 3E1.1(a), and (c) Harpreet Sachdeva’s offense level under the
        Guidelines prior to the operation of § 3E 1.1(a) is 16 or greater.
        Calculation of the Total Offense Leyei
                    8. In accordance with the above, the parties agree that the total
        Guidelines offense level applicable to Harpreet Sachdeva is 14.

                     9. The parties agree not to seek or argue for any upward or
        downward departure, adjustment or variance not set forth herein. The parties
        further agree that a sentence within the Guidelines range that results from the
        agreed total Guidelines offense level is reasonable.

        Waiver of Appellate Rhts

                     10. Harpreet Sachdeva knows that he has and, except as noted
       below in this paragraph, voluntarily waives, the right to file any appeal, any
       collateral attack, or any other writ or motion, including but not limited to an
       appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which
       challenges the sentence imposed by the sentencing court if that sentence falls
       within or below the Guidelines range that results from the agreed total
       Guidelines offense level of 14. This Office will not file any appeal, motion, or
       writ which challenges the sentence imposed by the sentencing court if that
       sentence falls within or above the Guidelines range that results from the agreed
       total Guidelines offense level of 14. The parties reserve any right they may
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       have under 18 U.S.C. § 3742 to appeal the sentencing court’s determination of
       the criminal history category. The provisions of this paragraph are binding on
       the parties even if the Court employs a Guidelines analysis different from that
       stipulated to herein. Furthermore, if the sentencing court accepts a
       stipulation, both parties waive the right to file an appeal, collateral attack, writ,
       or motion claiming that the sentencing court erred in doing so.

                   11. Both parties reserve the right to oppose or move to dismiss
       any appeal, collateral attack, writ, or motion barred by the preceding
       paragraph and to file or to oppose any appeal, collateral attack, writ or motion
       not barred by the preceding paragraph.




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